       Case 2:23-cv-01741-SSV-DPC Document 5 Filed 06/13/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA



SANDI STONE,                         )
                                     )               CAUSE NO.: 2:23-cv-01741
                                     )
           Plaintiff,                )
v.                                   )
                                     )               JUDGE: SARAH S. VANCE
UNIVERSITY OF NEW ORLEANS            )
RESEARCH AND TECHNOLOGY              )               MAGISTRATE: DONNA PHILLIPS
                                     )               CURRAULT
FOUNDATION, INC., XYZ INSURANCE COS. )
1-10                                 )
          Defendant.                 )
                                     )

                     EX PARTE MOTION TO SUBSTITUTE COUNSEL

       NOW INTO COURT, through undersigned counsel, comes plaintiff, Sandi Stone, who

respectfully moves this Court to enroll and substitute as counsel of record Daniel A. Meyer (La.

Bar #33278), of Slater Slater Schulman, LLP, who is a member of the Louisiana bar in good

standing, and withdrawing as counsel William Most.

       WHEREFORE, plaintiff Sandi Stone prays that Daniel A. Meyer be enrolled and substituted

as counsel of record in this matter.

                                                   Respectfully submitted,

                                                   SLATER SLATER SCHULMAN, LLP

                                                    /s/ Daniel A. Meyer
                                                   Daniel A. Meyer (La. Bar No. 33278)
                                                   825 Baronne Street
                                                   New Orleans, Louisiana 70115
                                                   Telephone: (504) 334-8522
                                                   Facsimile: (212) 922-0907
                                                   dmeyer@sssfirm.com
                                                   Counsel for Sandi Stone




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       Case 2:23-cv-01741-SSV-DPC Document 5 Filed 06/13/23 Page 2 of 2




                                                         /s/ William Most
                                                         WILLIAM MOST
                                                         La. Bar No. 36914
                                                         201 St. Charles Ave., Ste. 114, # 101
                                                         New Orleans, LA 70170
                                                         T: (504) 509-5023
                                                         Email: williammost@gmail.com




                                  CERTIFICATE OF SERVICE

       I hereby certify that on this June 13, 2023, a copy of the above and foregoing motion and

attachments has been served via United States Mail, properly addressed, postage prepaid, or via

electronic transmission, to all counsel of record.

                                                                /s/ Daniel Meyer
                                                                Daniel A. Meyer




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